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 1   [Stipulating parties listed on signature page]

 2
                                   UNITED STATES DISTRICT COURT
 3                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
 4

 5   In re: CATHODE RAY TUBE (CRT)                        )    Case No. 07-5944 SC
     ANTITRUST LITIGATION                                 )
 6                                                        )    MDL No. 1917
 7                                                        )
     This Document Relates to:                                 STIPULATION OF DISMISSAL
                                                          )
 8   CompuCom Systems, Inc. v. Hitachi, Ltd., et al.,     )
     Case No. 3:11-cv-06396                               )
 9                                                        )
     Interbond Corp. of Am. v. Hitachi, Ltd. et al.,
     No. 3:11-cv-06275-SC                                 )
10
                                                          )
     Office Depot, Inc. v. Hitachi, Ltd. et al, No.       )
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     3:11-cv-06276-SC                                     )
12   P.C. Richard & Son Long Island Corp., et al., v.     )
     Hitachi, Ltd., et al.¸ No. 12-cv-02648-SC            )
13                                                        )
     Tech Data Corp., et al. v. Hitachi, Ltd., et al.,    )
14   No. 3:13-cv-00157-SC                                 )
15   Schultze Agency Services, LLC on behalf of           )
     Tweeter Opco, LLC and Tweeter Newco, LLC v.          )
16   Hitachi, Ltd., et al., No. 12-cv-2649-SC             )
17

18           Plaintiffs CompuCom Systems, Inc.; Interbond Corporation of America; Office Depot, Inc.;
19   P.C. Richard & Son Long Island Corporation; ABC Appliance, Inc.; MARTA Cooperative of
20   America, Inc.; Tech Data Corporation and Tech Data Product Management, Inc.; and Schultze
21   Agency Services on behalf of Tweeter Opco, LLC and Tweeter Newco, LLC (collectively,
22   “Plaintiffs”), and Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes
23   (Malaysia) Sdn. Bhd. (collectively, “Chunghwa”), on the other hand, hereby stipulate as follows:
24           1.      Plaintiffs and Chunghwa seek dismissal of these actions with prejudice.
25           2.      Plaintiffs and Chunghwa agree that each party shall bear its own costs and attorneys’
26   fees in connection with this action.
27           3.      This stipulation does not affect the rights or claims of Plaintiffs against any other
28   defendant or alleged co-conspirator in this litigation.

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                                              STIPULATION OF DISMISSAL
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 1         WHEREFORE, the parties respectfully request that this Court issue an Order of Dismissal.

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 3   PURSUANT TO STIPULATION, IT IS SO ORDERED.                     TES D      TC
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 5            06/18/2015
     Dated:___________________                      ______________________________________
                                                                Hon. Samuel Conti
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                                                            United States District Judge
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                                                                                     el Conti




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         Case 3:07-cv-05944-JST Document 3885 Filed 06/18/15 Page 3 of 4



 1          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 2   document has been obtained from each of the below signatories.

 3

 4   Dated: June 15, 2015                            /s/ Philip J. Iovieno

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20                                                   Agency Services, LLC on behalf of Tweeter Opco,
                                                     LLC and Tweeter Newco, LLC, Tech Data
21                                                   Corporation and Tech Data Product Management,
                                                     Inc.
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                                             STIPULATION OF DISMISSAL
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15                                     Bhd.

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